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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA

                                              )
IN RE                                         )    CASE NO. 06-02229-lmj11
                                              )
DIOCESE OF DAVENPORT                          )    CHAPTER 11
                                              )
        Debtor                                )    RESPONSE TO SETTLEMENT TRUSTEE’S
                                              )    RESPONSE TO APPLICATION FOR
                                              )    ORDER RE TORT CLAIMANTS WHO
                                              )    FILED BANKRUPTCY (Docket No. 348)

       COMES NOW Wesley B. Huisinga, Renee K. Hanrahan and Bruce P. Kriegman, in their
sole capacities as Chapter 7 Trustees in the cases of certain Tort Claimants (“Trustee
Movants”), by and through their undersigned counsel, and in response to the Settlement
Trustee’s Response to Application for Order Regarding Tort Claimants Who Filed Bankruptcy
(Docket No. 348), states as follows:

                                       INTRODUCTION

        1.     The intent and purpose of the Movants’ original application (Docket No. 339) filed
September 4, 2008, was to insure the Settlement Trustee’s compliance with the turnover
provisions as set forth pursuant to 11 U.S.C. § 542(a) as it relates to settlements owed to
specific Tort Claimants who have previously filed bankruptcy. Absent a contrary determination
by the Bankruptcy Court in any individual Tort Claimant’s bankruptcy proceeding, there is no
dispute that any settlement payment owed to a Tort Claimant who had filed bankruptcy
constitutes property of said Tort Claimant’s bankruptcy estate, pursuant to 11 U.S.C. §541, and
must be turned over to the Tort Claimant’s individual Bankruptcy Trustee pursuant to 11 U.S.C.
§542. To the extent the response of the Settlement Trustee (Docket No. 348) suggests
otherwise, they lack standing to raise this issue. Further, any proposal by the Settlement
Trustee that suggests a procedure for determining the amount to be paid over to an individual
Tort Claimant’s Trustee is simply contrary to law and must be rejected out of hand. Without
conceding the Movants’ right for an immediate turnover of monies held by the Settlement
Trustee payable to individual Tort Claimants who have filed bankruptcy, the Movants, realizing
the complexity and sensitivity of the present case, would submit to the Court the following
proposal for the resolution of issues at hand:

           I. IDENTIFICATION OF TORT CLAIMANTS WHO FILED BANKRUPTCY

        2.      The Settlement Trustee’s Response fails to address an adequate procedure for
identifying any and all Tort Claimants who have previously filed a bankruptcy proceeding
subsequent to the injuries for which they may be compensated under the Diocese Plan. As
clearly set forth in the responses filed by the Settlement Trustee and the Debtor, there is no
procedure in place for identifying Tort Claimants who have filed bankruptcy, other than self-
reporting by the Tort Claimants as part of the Proof of Claim process previously established by
this Court.

       3.    The Trustee Movants have no way to determine whether all Tort Claimants for
which they may have served as Bankruptcy Trustee have been disclosed. To address the issue
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of properly identifying all Tort Claimants who have previously filed bankruptcy, Movants propose
the following procedure be ordered by the Court:

              a.      The Settlement Trustee should be ordered to provide the Office of the
                      United States Trustee, Region 12, a complete list of the names of all Tort
                      Claimants, said list to be provided within ten (10) days after entry of the
                      Court’s order;

              b.      Upon receipt of the list of all Tort Claimants, the United States Trustee,
                      Region 12, shall check each name against the U.S. Case Party Index
                      and/or PACER, as maintained by the judiciary system, to determine and
                      verify all Tort Claimants who have previously filed a bankruptcy
                      proceeding;

              c.      With regard to any Tort Claimant who is identified as having previously
                      filed a bankruptcy in the districts comprising United States Trustee
                      Region 12, the United States Trustee for Region 12 shall immediately
                      notify the Case Trustee who served, or is serving, in the individual Tort
                      Claimant’s personal bankruptcy, of the fact that said Tort Claimant is, or
                      may be entitled to, a payment from the Settlement Trustee in this case;

              d.      In the event the Case Trustee who previously served in an individual Tort
                      Claimant’s personal bankruptcy is no longer on the Panel of Trustees, the
                      United States Trustee, at its discretion, may reopen such case and
                      appoint a new Case Trustee to serve;

              e.      With regard to those Tort Claimants who are identified as having filed
                      bankruptcy outside the jurisdiction of the United States Trustee for Region
                      12, the United States Trustee for Region 12 shall communicate the name
                      of the Tort Claimant and the bankruptcy case number to the United States
                      Trustee for the Region in which the Tort Claimant’s personal bankruptcy
                      case was filed;

              f.      Any United States Trustee who receives the name and bankruptcy
                      information of any Tort Claimant shall be likewise authorized to notify the
                      Tort Claimant’s individual Case Trustee or, in the alternative, may move
                      to reopen a case and appoint a new Case Trustee, as may be appropriate
                      under the circumstances;

              g.      All United States Trustees and all Case Trustees receiving information as
                      provided for in this Order, shall not be required to sign a Confidentiality
                      Agreement, but shall, in all other respects, be subject to the
                      Confidentiality protocol previously established by this Court (Docket No.
                      97) and shall not disclose in any public proceeding, the nature or
                      description of the Tort Claimant’s claim, but rather refer to it only
                      generically as a “tort claim”. A copy of the Confidentiality Protocol shall
                      be provided to any United States Trustee and Case Trustee notified of a
                      Tort Claimant’s pending settlement pursuant to the provisions of this
                      Order; and
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               h.     The Settlement Trustee shall file with the Court a certification of their
                      compliance with this procedure (i.e. that the identity of all Tort Claimants
                      has been provided to the United States Trustee, Region 12, within ten
                      (10) days of the entry of the Court’s order) and the United States Trustee,
                      Region 12, shall file with this Court a certification of their compliance with
                      these procedures (i.e. that they have searched the bankruptcy records
                      and provided the identity and case number for any Tort Claimants who
                      have filed bankruptcy to the Case Trustees and/or U.S. Trustees, as the
                      case may be) within 30 days after the entry of the Court’s order directing
                      this procedure.

    II. PROCEDURE FOR PAYMENT OF CLAIMS TO TORT CLAIMANTS WHO DID NOT
       SELF-IDENTIFY AS HAVING FILED PERSONAL BANKRUPTCY AND OR WHICH
          THE SETTLEMENT TRUSTEE HAS NO ACTUAL KNOWLEDGE OF SUCH
                                  PRIOR FILING

        4.      Movants agree that neither the Settlement Trustee nor the Debtor may have any
knowledge of a Tort Claimant’s bankruptcy filing, absent the Tort Claimant’s honest disclosure
in a Proof of Claim or pursuant to a disclosure by the individual Tort Claimant’s attorney. As
such, the distribution to those Tort Claimants who did not disclose a prior bankruptcy filing, and
for which the Settlement Trustee has no actual knowledge, should proceed according to the
procedure and timetable previously established pursuant to the Plan and prior order of this
Court, subject to the following:

               a.     To the extent the Settlement Trustee has actual knowledge of a Tort
                      Claimant’s prior bankruptcy, then payment of the settlement owed to such
                      Tort Claimant shall be made in accordance with the provisions as
                      hereinafter set forth in paragraph 5 below;

               b.     To the extent the Settlement Trustee and/or Debtor’s counsel,
                      subsequent to the distribution of a settlement payment under this
                      paragraph, is contacted by a Case Trustee of a Tort Claimant who did not
                      disclose a prior bankruptcy filing, the Settlement Trustee and/or Debtor’s
                      counsel shall disclose to said Case Trustee the date and payment
                      amount to said Tort Claimant, but shall otherwise not have any liability to
                      the Trustee or the Tort Claimant’s bankruptcy estate for amounts
                      previously paid prior to such notification from the Case Trustee; and

               c.     The payment by the Settlement Trustee to a Tort Claimant who failed to
                      disclose a prior bankruptcy filing in the Proof of Claim, shall not prejudice
                      or in any way effect the rights of said Tort Claimant’s Case Trustee to
                      seek recovery of the settlement payment from the Tort Claimant as part of
                      the Tort Claimant’s individual bankruptcy proceeding.

          III. PROCEDURE FOR PAYMENT OF CLAIMS TO TORT CLAIMANTS
               WHO SELF-IDENTIFIED AS HAVING FILED BANKRUPTCY OR
        FOR THOSE TORT CLAIMANTS FOR WHOM THE SETTLEMENT TRUSTEE
         HAS BEEN NOTIFIED OF THE TORT CLAIMANT’S PRIOR BANKRUPTCY

       5.     With respect to those Tort Claimants who self-identified as having previously filed
a bankruptcy proceeding and those Tort Claimants for which the Settlement Trustee has actual
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knowledge of a prior bankruptcy filing, the settlement payment to which each such Tort Claimant
is entitled shall not be paid by the Settlement Trustee until the earlier of (i) receipt of a written
demand for turnover by the Tort Claimant’s personal Case Trustee or (ii) January 1, 2009. The
procedure for payment under this paragraph shall be as follows:

               a.      Upon receipt of written demand for turnover from the Trustee of an
                       individual Tort Claimant’s personal bankruptcy filing, the Settlement
                       Trustee shall pay the full settlement to which such Tort Claimant is
                       entitled to the Case Trustee;

               b.      If, as of January 1, 2009, the Settlement Trustee has received no
                       notification or demand from a duly appointed and acting Case Trustee for
                       said Tort Claimant, the Settlement Trustee may pay to the Tort Claimant,
                       the full settlement amount to which said Tort Claimant is entitled, without
                       any further obligation or liability, except, that if the Settlement Trustee
                       received a demand from the Case Trustee after a distribution to a Tort
                       Claimant, the Settlement Trustee shall disclose the date and amount of
                       such payment to the Case Trustee;

               c.      The direct payment to a Tort Claimant, as provided for under
                       subparagraph (b) of this paragraph, shall not prejudice the rights of the
                       Tort Claimant’s Case Trustee to seek recovery of the settlement payment
                       from the Tort Claimant as part of the Tort Claimant’s individual bankruptcy
                       proceeding;

               d.      The payment of a Tort Claimant’s settlement to a Case Trustee, as
                       provided for in subparagraph (a) of this paragraph, shall not prejudice the
                       rights of the Tort Claimant to argue that the settlement proceeds are not
                       property of the estate, to claim exemptions therein, or any other such
                       relief that the Tort Claimant may seek in his or her personal bankruptcy;
                       and

               e.      If, prior to the payment of a Tort Claimant’s settlement under the
                       provisions of this paragraph, the Settlement Trustee receives a written
                       agreement, stipulation or Court Order issued by the jurisdiction in which
                       the Tort Claimant’s bankruptcy was filed or pending, the Settlement
                       Trustee is hereby authorized to pay the proceeds of the Tort Claimant’s
                       settlement, as provided for in said agreement, stipulation or Court Order,
                       and which, if paid in accordance therewith, shall relieve the Settlement
                       Trustee of any further obligation or liability with regard thereto.

                               IV. ANALYSIS AND CONCLUSION

        6.     The motion originally filed by the Movants and the Movants’ additional response,
as set forth herein, is intended to insure that the Movants are able to properly perform and
complete their fiduciary responsibilities as Case Trustees, including, most importantly, the
liquidation and distribution of property of the estate to the Tort Claimant’s individual creditors, as
required by the Bankruptcy Code and Rules. Likewise, the Movants’ proposal furthers the
legitimate role of the Bankruptcy Court to issue any order, process or judgment that is
necessary or appropriate to carry out the provisions of the Bankruptcy Code with respect to the
individual Tort Claimant’s bankruptcy proceedings, and the duties and responsibilities of the
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United States Trustee, pursuant to 28 U.S.C. §586, to supervise the administration of cases and
Trustee’s under Chapter 7 of Title 11. In the instance of this case, the Settlement Trustee
cannot hide behind the Debtor’s “Plan” or the provisions of the Confidentiality Protocol therein,
to trump the provisions of the Bankruptcy Code with respect to any individual Tort Claimant’s
bankruptcy proceeding. With respect to the individual bankruptcy proceeding of each Tort
Claimant, the story begins and ends with Section 541, which makes the respective tort claims
and anything relating thereto, property of the individual Tort Claimant’s bankruptcy case. There
is simply no exception to the inclusion of the tort claims as property of the estate that could be
determined in this present Debtor proceeding. Rather, to the extent there is an issue involving
property of the estate, exemptions, or any other exceptions, those issues can only be resolved
by a determination of the Bankruptcy Court in each individual Tort Claimant’s bankruptcy
proceeding, and as such, there exists no jurisdiction to make those individual case
determinations in this proceeding, nor can there be any claim that any of these issues, relating
to the turnover and disposition, for those who have filed bankruptcy proceedings, have been or
can be determined in the Debtor’s present proceeding. Further, and more fundamentally, the
Settlement Trustee’s proposals with respect to any determination as to the amount of settlement
proceeds to be turned over to a Case Trustee, are unworkable, impractical, contrary to the
provisions of the Bankruptcy Code and, indeed, would be outside the jurisdiction of the Court to
enter orders in this Debtor case that governs the distribution procedures in the individual Tort
Claimant’s case. In summary, the Movants’ proposal, as set forth in this response, maintains
the confidentiality of the Tort Claimants while balancing the interests of the Settlement Trustee
to fulfill it’s duties and obligations under the Plan, avoid delay in distribution to Tort Claimants
and to insure that the Case Trustees of individual Tort Claimants who have filed bankruptcy, are
able to fulfill their fiduciary responsibilities under the Code.


        WHEREFORE, the Movants request that this Court, after appropriate opportunities for
notice and hearing, enter an order setting forth the procedures outlined in this Response for the
handling of the Settlement Trustee’s obligations to Tort Claimants who previously filed
bankruptcy case.



                                              /s/ Wesley B. Huisinga____________________
                                              Wesley B. Huisinga ID No. IS9999360
                                              SHUTTLEWORTH & INGERSOLL, PC
                                              115 Third Street SE
                                              P O B ox 2107
                                              Cedar Rapids, IA 52406-2107
                                              (319) 365-9461 Phone
                                              (319) 365-8564 Fax
                                              wbh@shuttleworthlaw.com
                                              ATTORNEY FOR
                                              WESLEY B. HUISINGA, Chapter 7 Trustee
                                              RENEE K. HANRAHAN, Chapter 7 Trustee
                                              BRUCE P. KRIEGMAN, Chapter 7 Trustee
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                                 CERTIFICATION OF SERVICE

         The undersigned hereby certifies under penalty of perjury, that a copy of his document
was served electronically on parties who receive electronic notice through CM/ECF as listed on
CM/ECF’s notice of electronic filing and by first class mail on the 14th day of October, 2008 on
the following:

                                            /s/ Cameo Kruse____________________
                                            Cameo Kruse


James Snyder                                     Richard A. Davidson
United States Trustee’s Office                   220 N Main Street, Ste 600
210 Walnut Street                                Davenport, IA 52801-1987
Room 793
Des Moines, IA 50309-2108
                                                 Thomas J. Salerno/Jordan A. Kroop
Thomas G. McCuskey                               Squire, Sanders & Dempsey, LLC
118 3rd Ave., SE, Ste 309                        Two Renaissance Square
P.O. Box 817                                     40 North Central Avenue, Ste 2700
Cedar Rapids, IA 52406-0817                      Phoenix, AZ 85004-4498


Craig A. Levien                                  Marty L. Rowlet
Betty Neuman & McMahon, PLC                      Shuttleworth & Ingersoll, PLC
111 East Third Street, #600                      115 Third Street, SE, Ste 500
Davenport, IA 52801                              P.O. Box 2107
                                                 Cedar Rapids, IA 52406-2107

Anita Shodeen                                    Michael P. Pompeo
Beving, Swanson & Forrest, PC                    Drinker, Biddle & Reath, LLP
321 East Walnut Street                           500 Campus Drive
Suite 200                                        Florham Park, NJ 07932-1047
Des Moines, IA 50309-2026

Jean M. Golden/Patricia Ryan                     Paula L. Roby
Cassiday Schade, LLP                             Elderkin & Pirnie, PLC
20 North Wacker Drive, Ste 1040                  115 1st Avenue SE
Chicago, IL 60606-2903                           P.O. Box 1968
                                                 Cedar Rapids, IA 52406-1968

Aurora Management Partners, Inc.                 Richard M. Calkins
212 South Tryon Street, Ste 1680                 Calkins Law Firm
Charlotte, NC 28281                              2700 Westown Parkway, Ste 220
                                                 West Des Moines, IA 50266

Richard K. Updegraff                             Eric Lam
Brown, Winick, Graves, et al                     Moyer & Bergman, PLC
666 Grand Avenue, Ste 2000                       2720 1st Ave., N.E.
Des Moines, IA 50309-2510                        P.O. Box 1943
                                                 Cedar Rapids, IA 52406-1943
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James M. Sweeney                           Irvin C. Slater, Jr., Esq.
320 LeClaire Street                        3600Nameoki Road, Ste 205
Davenport, IA 52801                        Granite City, IL 62040

Hamid R. Rafatjoo                          Patrick Noaker
Gillian N. Brown                           Jeff Anderson & Associates, PA
Pachulski, Stang, Ziehl & Jones, LLP       366 Jackson St., Ste 100
10100 Santa Monica Blvd., 11th Floor       St. Paul, MN 55101
Los Angeles, CA 90067-4100
                                           Bruce P. Kriegman
Renee K. Hanrahan, PC                      600 University Street, Ste 2100
P.O. Box 1088                              Seattle, WA 98101-4161
Cedar Rapids, IA 52406-1088
